Case 2:18-cv-03893-RGK-AGR Document 70 Filed 04/17/19 Page 1 of 19 Page ID #:631




  1   Mike Arias (CSB #115385)
        mike@asstlawyers.com
  2   Alfredo Torrijos (CSB #222458)
       alfredo@asstlawyers.com
  3   ARIAS SANGUINETTI WANT & TORRIJOS, LLP
      6701 Center Drive West, 14th Floor
  4   Los Angeles, California 90045
      Telephone: (310) 844-9696
  5   Facsimile: (310) 861-0168
  6   Steven L. Woodrow*
        swoodrow@woodrowpeluso.com
  7   Patrick H. Peluso*
        ppeluso@woodrowpeluso.com
  8   Taylor T. Smith*
        tsmith@woodrowpeluso.com
  9   WOODROW & PELUSO, LLC
      3900 E. Mexico Avenue, Suite 300
 10   Denver, Colorado 80210
      Telephone: (720) 216-0675
 11   Facsimile: (303) 927-0809
 12 *Pro Hac Vice

 13   Attorneys for Plaintiff and the Putative Class
 14

 15                        UNITED STATES DISTRICT COURT
 16            CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
 17
        Edwardo Munoz, individually and on
 18     behalf of all others similarly situated, Case No. 2:18-cv-03893-RGK-AGR
 19
                                 Plaintiff,      PLAINTIFF’S NOTICE OF
 20                                              MOTION AND MOTION FOR
          v.                                     SUMMARY JUDGMENT
 21
                                                 [Filed concurrently with Statement of
 22     7-Eleven, Inc., a Texas corporation      Uncontroverted Facts and
 23                                              Conclusions of Law, Declaration of
                                Defendant.       Steven Woodrow, and [Proposed]
 24                                              Judgment]
 25                                              Date: May 20, 2019
 26                                              Time: 9:00 a.m.
                                                 Judge: Hon. R. Gary Klausner
 27                                              Place: Courtroom 850
                                                 Complaint Filed: May 9, 2018
 28
Case 2:18-cv-03893-RGK-AGR Document 70 Filed 04/17/19 Page 2 of 19 Page ID #:632




  1         PLEASE TAKE NOTICE that on May 20, 2019, at 9:00 a.m. in Courtroom
  2   850 of the Roybal Federal Building and U.S. Courthouse, 255 East Temple Street,
  3   Los Angeles, California 90012, Plaintiff Edwardo Munoz will and hereby does
  4   move before the Honorable R. Gary Klausner for an order granting summary
  5   judgment in favor of Plaintiff and the Class as to all claims in the Complaint.
  6         This motion is made pursuant to Federal Rule of Civil Procedure 56 and
  7   Central District of California Local Rule 56-1. As explained in the accompanying
  8   Memorandum, summary judgment in favor of Plaintiff is warranted because the
  9   facts material to his claims are not disputed. 7-Eleven’s disclosure form violates the
 10   FCRA by containing extraneous information, and the violation is willful in light of
 11   decades-old authority and guidance.
 12         This motion is based on this Notice of Motion, the attached Memorandum of
 13   Points and Authorities, the concurrently filed Statement of Uncontroverted Facts
 14   and Conclusions of Law, the Declaration of Steven Woodrow, pleadings and papers
 15   on file herein, and such other materials as may be presented to the Court at the time
 16   of the hearing.
 17

 18                                          Respectfully submitted,
 19   Dated: April 17, 2019                  Edwardo Munoz, individually and on behalf
 20                                          of all others similarly situated,
 21                                          By: /s/ Steven L. Woodrow
                                             One of Plaintiff’s Attorneys
 22

 23                                          Mike Arias (CSB #115385)
 24                                             mike@asstlawyers.com
                                             Alfredo Torrijos (CSB #222458)
 25
                                                alfredo@asstlawyers.com
 26                                          ARIAS SANGUINETTI WANG &
                                                TORRIJOS, LLP
 27
                PLAINTIFF’S NOTICE OF MOTION AND MOTION FOR SUMMARY JUDGMENT
 28                                            -ii-
Case 2:18-cv-03893-RGK-AGR Document 70 Filed 04/17/19 Page 3 of 19 Page ID #:633




  1
                                        6701 Center Drive West, 14th Floor
                                        Los Angeles, California 90045
  2                                     Telephone: (310) 844-9696
  3                                     Facsimile: (310) 861-0168

  4                                     Steven L. Woodrow*
  5                                        swoodrow@woodrowpeluso.com
                                        Patrick H. Peluso*
  6                                        ppeluso@woodrowpeluso.com
  7                                     Taylor T. Smith*
                                           tsmith@woodrowpeluso.com
  8                                     WOODROW & PELUSO, LLC
  9                                     3900 East Mexico Avenue, Suite 300
                                        Denver, Colorado 80210
 10                                     Telephone: (720) 213-0675
 11                                     Facsimile: (303) 927-0809

 12

 13                                     *Pro Hac Vice

 14

 15

 16

 17

 18

 19
 20

 21

 22

 23

 24

 25
 26

 27
              PLAINTIFF’S NOTICE OF MOTION AND MOTION FOR SUMMARY JUDGMENT
 28                                       -iii-
Case 2:18-cv-03893-RGK-AGR Document 70 Filed 04/17/19 Page 4 of 19 Page ID #:634




  1
                                               TABLE OF CONTENTS

  2   TABLE OF AUTHORITIES ................................................................................. ii
  3
      I.      INTRODUCTION ......................................................................................... 1
  4
      II.     BACKGROUND ............................................................................................ 1
  5

  6   III.    LEGAL STANDARD .................................................................................... 3
  7   IV.     ARGUMENT ................................................................................................. 3
  8
              A.       By Combining Disclosures For Consumer Reports And
  9                    Investigative Reports Into One Disclosure, And By Including A
                       Statement About State Statutes, 7-Eleven’s Form Fails To Stand
 10
                       Alone ..................................................................................................... 4
 11
              B.       In Light Of Extant Legal Authority, 7-Eleven’s Disclosure Form
 12
                       Constitutes A Willful Violation Of The FCRA. ............................... 8
 13
      V.      CONCLUSION ............................................................................................ 12
 14

 15

 16

 17

 18
 19

 20

 21

 22

 23

 24

 25

 26
 27

 28
Case 2:18-cv-03893-RGK-AGR Document 70 Filed 04/17/19 Page 5 of 19 Page ID #:635




  1                                          TABLE OF AUTHORITIES
  2   CASES
  3   Celotex Corp. v. Catrett, 477 U.S. 317 (1986) .......................................................... 3
  4   Cortez v. Trans Union, LLC, 617 F.3d 688 (3d Cir. 2010) ....................................... 9
  5   Gilberg v. Cal. Check Cashing Stores, LLC,
  6            913 F.3d 1169 (9th Cir. 2019) ............................................................... 6, 8–10
  7   In re Oracle Corp. Sec. Litig., 627 F.3d 376 (9th Cir. 2010) .................................... 3
  8   Nw. Forest Res. Council v. Glickman, 82 F.3d 825 (9th Cir. 1996) ......................... 5
  9   Pettis ex rel. United States v. Morrison–Knudsen Co.,
 10            577 F.2d 668 (9th Cir.1978) ............................................................................ 5
 11   Safeco Ins. Co. of Am. v. Burr, 551 U.S. 47 (2007) .................................................. 9
 12   Syed v. M-I, LLC, 853. F.3d 492 (9th Cir. 2017) ......................................... 5–6, 9, 10
 13   Wilshire Westwood Associates, 881 F.2d 801 (9th Cir. 1989) .................................. 5
 14   STATUTES, RULES, AND OTHER SOURCES
 15   Fair Credit Reporting Act, 15 U.S.C. 1681 et seq. ........................................... passim
 16   Fed. R. Civ. P. 56 ....................................................................................................... 3
 17   FTC Advisory Opinion to Willner (Mar. 25, 1999) ................................... 7–8, 10–11
 18

 19
 20

 21

 22

 23

 24

 25
 26

 27
                 PLAINTIFF’S MEMORANDUM IN SUPPORT OF MOTION FOR SUMMARY JUDGMENT
 28                                                               -ii-
Case 2:18-cv-03893-RGK-AGR Document 70 Filed 04/17/19 Page 6 of 19 Page ID #:636




  1                MEMORANDUM OF POINTS AND AUTHORITIES
  2   I.    INTRODUCTION
  3         Defendant 7-Eleven, Inc. (“Defendant” or “7-Eleven”) procured a consumer
  4   report about Plaintiff Edwardo Munoz (“Plaintiff” or “Munoz”) that ultimately led
  5   to his termination. In doing so 7-Eleven violated the Fair Credit Reporting Act, 15
  6   U.S.C. § 1681b et seq. (“FCRA” or the “Act”), because 7-Eleven’s FCRA
  7   disclosure form failed to standalone. Plaintiff brought this action on behalf of
  8   himself and a class of other 7-Eleven applicants and employees alleging that 7-
  9   Eleven’s violation was willful. Throughout the course of this case, the material
 10   facts regarding 7-Eleven’s form have remained undisputed. The record shows, and
 11   7-Eleven concedes, that its form combines information regarding consumer and
 12   investigative reports—a practice that fails to comply with the FCRA’s requirement
 13   that the consumer report disclosure be made “in a document that consists solely of
 14   the disclosure.” 7-Eleven’s form also contains additional extraneous information,
 15   including a statement that state statutory provisions may provide additional
 16   protections, and information about Sterling Talent Solutions. Furthermore, this
 17   violation is willful as a matter of law because 7-Eleven’s interpretation of the
 18   FCRA is unambiguously barred by the statute itself. Accordingly, Plaintiff asks the
 19   Court to grant summary judgment in favor of himself and the Class and Subclass.
 20   II.   BACKGROUND
 21         In January 2018, Munoz applied for a job at a 7-Eleven store in Los Angeles,
 22   California, and he was hired on or around January 28, 2018. (See Pl.’s Statement of
 23   Uncontroverted Facts and Conclusions of Law (“PSUF”), ¶¶ 1–2.) As part of the
 24   hiring process, Defendant provided him with a form that contained both a
 25   disclosure that 7-Eleven would obtain one or more reports regarding Munoz and an
 26   authorization of 7-Eleven to obtain the report(s). (See id. ¶ 3; see also Disclosure
 27
             PLAINTIFF’S MEMORANDUM IN SUPPORT OF MOTION FOR SUMMARY JUDGMENT
 28                                             -1-
Case 2:18-cv-03893-RGK-AGR Document 70 Filed 04/17/19 Page 7 of 19 Page ID #:637




  1   Form, attached to the Woodrow Decl. as Exhibit A.) The disclosure form contains a
  2   lengthy description of the information that would be included in the “report,” such
  3   as credit history, criminal history, and information obtained through personal
  4   interviews with employers, friends, family members, or associates. (See PSUF ¶ 4;
  5   Woodrow Decl., Ex. A.) The disclosure also includes thorough contact information
  6   for 7-Eleven’s credit reporting agency, Sterling Talent Solutions, Inc. (See PSUF ¶
  7   5; Woodrow Decl., Ex. A.) The disclosure also includes a statement that “[s]tate
  8   statutory provisions may also provide additional protections for consumer reports”.
  9   (See PSUF ¶ 6; Woodrow Decl., Ex. A.) The form itself was submitted with
 10   Plaintiff’s Complaint and its authenticity has not been disputed. (See PSUF ¶ 7.)
 11   Munoz signed the form, and 7-Eleven subsequently procured a consumer report on
 12   Munoz. (See id. ¶ 8.)
 13          After being employed for almost a month, Munoz was fired on or around
 14   February 21, 2018, based on information contained in the consumer report procured
 15   by 7-Eleven. (See id. ¶ 9.) On May 9, 2018, Plaintiff filed the present action on
 16   behalf of himself and a class of other 7-Eleven job applicants who were subject to
 17   the same disclosure form and subsequently had a background check obtained
 18   regarding their employment. (Compl., ECF 1.) After denying 7-Eleven’s Motion to
 19   Dismiss, the Court certified the Class and a Subclass of California citizens on
 20   October 18, 2018. (Order, ECF 43.) The same FCRA notice that was provided to
 21   Plaintiff Munoz was also provided to approximately 57,000 other class members.
 22   (See PSUF ¶ 10.) However, 7-Eleven has not disclosed the number or identities of
 23   those who reside in California, despite its sole control over such information. (See
 24   id. ¶ 11.)
 25          On January 30, 2019, Plaintiff’s counsel deposed Kristen Cope, 7-Eleven’s
 26   corporate designee pursuant to FRCP 30(b)(6). (See id. ¶ 12.) On behalf of 7-
 27
              PLAINTIFF’S MEMORANDUM IN SUPPORT OF MOTION FOR SUMMARY JUDGMENT
 28                                            -2-
Case 2:18-cv-03893-RGK-AGR Document 70 Filed 04/17/19 Page 8 of 19 Page ID #:638




  1   Eleven, Ms. Cope testified that the form described consumer reports, background
  2   reports, and investigative reports all at once. (See id. ¶ 13.) As 7-Eleven’s Rule
  3   30(b)(6) designee testified:
  4          Q: The reports being described in that paragraph, are they consumer reports,
  5          background reports, and investigative reports?
  6          A: Yes.
  7          Q: So all three are being described in one paragraph, correct?
  8          A: That is correct.
  9   (Woodrow Decl., Ex. B., at 89:16–22.) Ms. Cope further testified that, while
 10   consumer reports relate to credit checks, criminal history is part of a separate
 11   background check. (See PSUF ¶ 14.) At no point during the deposition did Ms.
 12   Cope dispute that the disclosure form described investigative consumer reports in
 13   addition to consumer reports. Likewise, 7-Eleven has not disputed the inclusion of
 14   investigative report information in the form during the course of this action.
 15   III.   LEGAL STANDARD
 16          A motion for summary judgment is to be granted if the movant shows that (1)
 17   there is no genuine dispute as to any material fact of the claims on which judgment
 18   is sought, and (2) the movant is entitled to judgment as a matter of law. FED. R. CIV.
 19   P. 56(a). The moving party initially bears the burden of proving the absence of a
 20   genuine issue of material fact. In re Oracle Corp. Sec. Litig., 627 F.3d 376, 387 (9th
 21   Cir. 2010) (citing Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986)). When the
 22   movant meets its burden, the burden shifts to the non-moving party to identify
 23   specific facts that demonstrate the existence of genuine issues for trial. Id.
 24   IV.    ARGUMENT
 25          Plaintiff’s primary claim is premised on two assertions: (1) that 7-Eleven’s
 26   disclosure form violates the FCRA’s stand-alone and “clear and conspicuous”
 27
              PLAINTIFF’S MEMORANDUM IN SUPPORT OF MOTION FOR SUMMARY JUDGMENT
 28                                              -3-
Case 2:18-cv-03893-RGK-AGR Document 70 Filed 04/17/19 Page 9 of 19 Page ID #:639




  1   disclosure requirements in 15 U.S.C. § 1681b(b)(2)(A)(i); and (2) that 7-Eleven’s
  2   violation was willful.1 (See Am. Compl., ECF 23, at ¶¶ 31–41.) The undisputed
  3   facts supporting each assertion warrant judgment in Plaintiff’s favor as a matter of
  4   law. First, 7-Eleven’s form includes extraneous information about investigative
  5   consumer reports that renders the form unclear and violates the stand-alone
  6   mandate. Second, the violation is willful as a matter of law, in light of the statute’s
  7   unambiguous language that is not subject to interpretation. Accordingly, the Court
  8   should grant Plaintiff’s Motion for Summary Judgment on all of his claims.
  9         A.     By Combining Disclosures For Consumer Reports And
 10                Investigative Reports Into One Disclosure, And By Including A
 11                Statement About State Statutes, 7-Eleven’s Form Fails To Stand
 12                Alone.
 13         Because 7-Eleven’s disclosure form includes extraneous information and
 14   details about investigative reports, the form fails to stand alone, as required by the
 15   FCRA. Rather than dispute this inclusion, 7-Eleven instead insists that the inclusion
 16   is permissible. Controlling case law makes clear, however, that extraneous
 17   information, such as details regarding the nature and scope of an investigative
 18   report, violates the stand-alone requirement. Thus, 7-Eleven has violated the FCRA
 19   as a matter of law.
 20         The Act defines two types of reports: (1) consumer reports, which are
 21   compiled from consumer data by reporting agencies; and (2) investigative consumer
 22   reports, which involve interviews of references and acquaintances. See 15 U.S.C. §
 23   1681a(d)(1), 1681a(e). The two reports are distinctly defined, and each has its own,
 24

 25   1
       Plaintiff has also pleaded a derivative claim for violation of California Unfair
 26   Competition Law, which serves as the basis for the California Subclass. (See ECF
 27
      23 at 42–45.) This claim depends on the same facts supporting the FCRA claim.
              PLAINTIFF’S MEMORANDUM IN SUPPORT OF MOTION FOR SUMMARY JUDGMENT
 28                                              -4-
Case 2:18-cv-03893-RGK-AGR Document 70 Filed 04/17/19 Page 10 of 19 Page ID #:640




  1   separate disclosure requirements. Compare 15 U.S.C. § 1681b with 15 U.S.C. §
  2   1681d.2 Section 1681b(b)(2)(A)(i) of the FCRA requires employers to make a
  3   “clear and conspicuous disclosure” to employees or prospective employees of their
  4   intent to procure a consumer credit report. 15 U.S.C. § 1681b(b)(2)(A)(i). The
  5   statute further mandates that this disclosure be made “in a document that consists
  6   solely of the disclosure.” Id. (emphasis added). This is the FCRA’s “stand-alone”
  7   disclosure requirement.
  8
  9

 10   2
          The disclosures for investigative consumer reports are to be made separately:
 11
               A person may not procure or cause to be prepared an investigative
 12            consumer report on any consumer unless--
 13
               (1) it is clearly and accurately disclosed to the consumer that an
 14            investigative consumer report including information as to his character,
 15            general reputation, personal characteristics, and mode of living,
               whichever are applicable, may be made, and such disclosure (A) is
 16            made in a writing mailed, or otherwise delivered, to the consumer, not
 17            later than three days after the date on which the report was first
               requested, and (B) includes a statement informing the consumer of his
 18            right to request the additional disclosures provided for under subsection
 19            (b) of this section and the written summary of the
               rights of the consumer prepared pursuant to section 1681g(c) of this
 20            title.
 21
      15 U.S.C. § 1681d(a)(1). Allowing for the combination of these two disclosures
 22   would render the standalone and “clear and conspicuous” requirements
 23   meaningless. Nw. Forest Res. Council v. Glickman, 82 F.3d 825, 834 (9th Cir.
      1996), as amended on denial of reh'g (May 30, 1996) (“We have long followed the
 24   principle that [s]tatutes should not be construed to make surplusage of any
 25   provision.”) (citing Wilshire Westwood Associates, 881 F.2d 801, 804 (9th Cir.
      1989); see also Pettis ex rel. United States v. Morrison–Knudsen Co., 577 F.2d 668,
 26   673 (9th Cir. 1978).
 27
                PLAINTIFF’S MEMORANDUM IN SUPPORT OF MOTION FOR SUMMARY JUDGMENT
 28                                               -5-
Case 2:18-cv-03893-RGK-AGR Document 70 Filed 04/17/19 Page 11 of 19 Page ID #:641




  1         As the Ninth Circuit explained in Syed, the fact that other FCRA provisions
  2   mandating disclosure omit the term ‘solely’ is evidence that Congress intended that
  3   term to carry meaning. Syed v. M-I, LLC, 853 F.3d 492, 501 (9th Cir. 2017). Even
  4   though the statute makes exception for an accompanying authorization, the Court
  5   explained that, “in light of Congress’s express grant of permission for the inclusion
  6   of an authorization, the familiar judicial maxim expressio unius est exclusio alterius
  7   counsels against finding additional, implied, exceptions.” Id. Thus, under the plain
  8   language of the statute, any extraneous information contained in a disclosure form
  9   (aside from an authorization of said disclosure) violates the FCRA.
 10         The Ninth Circuit in Gilberg reaffirmed Syed, reiterating that “Syed’s holding
 11   and statutory analysis were not limited to liability waivers; Syed considered the
 12   standalone requirement with regard to any surplusage.” Gilberg v. Cal. Check
 13   Cashing Stores, LLC, 913 F.3d 1169, 1175 (9th Cir. 2019) (emphasis added). This
 14   result is compelled by the clarity of the FCRA’s standalone provision:
 15         We concluded [in Syed] the statute meant what it said: the required
 16         disclosure must be in a document that “consist[s] ‘solely’ of the
 17         disclosure.” We based this holding on the statute’s plain language,
 18         noting “[w]here congressional intent ‘has been expressed in reasonably
 19         plain terms, that language must ordinarily be regarded as conclusive.’”
 20   Id. (citing Syed, 853 F.3d at 496, 500). Together, Gilberg and Syed hold firmly “that
 21   the standalone requirement forecloses implied exceptions.” Id. at 1176.
 22         Hence, even if extraneous information is included under the guise of
 23   furthering the purpose of the FCRA, “purpose does not override plain meaning.” Id.
 24   at 1175. Indeed, Gilberg further noted that “even ‘related’ information may distract
 25   or confuse the reader,” as the presence of extraneous information in a disclosure
 26

 27
             PLAINTIFF’S MEMORANDUM IN SUPPORT OF MOTION FOR SUMMARY JUDGMENT
 28                                            -6-
Case 2:18-cv-03893-RGK-AGR Document 70 Filed 04/17/19 Page 12 of 19 Page ID #:642




  1   form that is “as likely to confuse as it is to inform” does not further the purpose of
  2   the FCRA. Id. at 1176
  3         Like the forms in Syed and Gilberg, 7-Eleven’s form does not stand alone
  4   and would require multiple implied exceptions to escape liability under the Act. It
  5   combines the consumer report disclosure with, among other things, details about
  6   “personal interviews” with family and friends that may be included in “the
  7   investigation,” effectively blurring the distinction between consumer reports and
  8   investigative reports and combining the two into one: “the report.” (See Woodrow
  9   Decl., Ex. A.) Indeed, the opening sentence of the form denotes the possibility of
 10   three separate reports (consumer report, background report, and investigative
 11   report), without providing any explanation or distinction. (Id.) These inclusions,
 12   particularly regarding the nature and scope of investigative reports, are extraneous,
 13   both rendering the disclosure unclear and violating the FCRA’s stand-alone
 14   requirement.
 15         7-Eleven has not disputed that the disclosure form contains information about
 16   investigative reports. Indeed just the opposite is true, as 7-Eleven has admitted that
 17   its disclosure combines disclosures for consumer reports, investigative consumer
 18   reports, and (criminal) background checks. (Woodrow Decl., Ex. B., at 89:16–22
 19   (“Q: So all three [types of reports] are being described in one paragraph, correct?
 20   A: That is correct.”).
 21         Rather than dispute that its form contains extraneous information, 7-Eleven
 22   has argued that these inclusions were permissible, citing to a somewhat more
 23   lenient standard outlined by the FTC. (See Def. Mot. to Dismiss, ECF 24, at 6.) As
 24   a preliminary consideration, Willner does not bind the Court, and its standard is
 25   plainly precluded by the language of the FCRA itself and the Ninth Circuit’s Syed
 26   and Gilberg rulings. However, even the FTC’s relaxed standard set forth in Willner
 27
              PLAINTIFF’S MEMORANDUM IN SUPPORT OF MOTION FOR SUMMARY JUDGMENT
 28                                             -7-
Case 2:18-cv-03893-RGK-AGR Document 70 Filed 04/17/19 Page 13 of 19 Page ID #:643




  1   was careful to permit “only a very limited” reference to investigative reports—
  2   merely enough to inform consumers that one may be procured. See FTC Advisory
  3   Opinion to Willner (Mar. 25, 1999). 7-Eleven’s form contains far more than the
  4   limited disclosure permitted by Willner—thus, even if the Court were to ignore
  5   prevailing Ninth Circuit precedent and take this lenient approach, 7-Eleven’s form
  6   still contains extraneous information that overshadows the consumer report
  7   disclosure.
  8         Making matters worse for 7-Eleven, the Ninth Circuit in Gilberg held “that a
  9   prospective employer violates FCRA’s standalone document requirement by
 10   including extraneous information relating to various state disclosure requirements
 11   in that disclosure.” Gilberg, 913 F.3d at 1171. Here, 7-Eleven’s disclosure contains
 12   a statement that “[s]tate statutory provisions may also provide additional protections
 13   for consumer reports”. Thus, as in Gilberg, 7-Eleven’s disclosure “refers not only to
 14   rights under FCRA . . . but also to rights under state laws inapplicable to [Munoz]
 15   and to extraneous documents that are not part of the FCRA-mandated disclosure”.
 16   See Gilberg, 913 F.3d at 1175. 7-Eleven’s form therefore violates the FCRA’s
 17   standalone disclosure requirement for this reason as well.
 18         By muddling its consumer report disclosure with details about investigative
 19   reports and interviews, and by referring to state statutory provisions, 7-Eleven
 20   violated the FCRA as a matter of law. Defendant’s form is unclear and fails to stand
 21   alone, and the facts material to this claim are undisputed. Accordingly, the Court
 22   should grant Plaintiff’s Motion for Summary Judgment.
 23         B.      In Light Of Extant Legal Authority, 7-Eleven’s Disclosure Form
 24                 Constitutes A Willful Violation Of The FCRA.
 25
 26

 27
             PLAINTIFF’S MEMORANDUM IN SUPPORT OF MOTION FOR SUMMARY JUDGMENT
 28                                            -8-
Case 2:18-cv-03893-RGK-AGR Document 70 Filed 04/17/19 Page 14 of 19 Page ID #:644




  1         The FCRA imposes civil liability for damages on any person who willfully
  2   fails to comply with the statute. See 15 U.S.C. § 1681n(a). This Court should find
  3   that 7-Eleven’s actions willfully violated the FCRA as a matter of law.3
  4         In the context of the FCRA, the Supreme Court in Safeco held that “reckless
  5   disregard of a requirement of FCRA would qualify as a willful violation” of the
  6   statute. Safeco Ins. Co. of Am. v. Burr, 551 U.S. 47, 71 (2007). The threshold for
  7   recklessness requires a showing that the defendant took an action or interpreted a
  8   statute in a manner that was “objectively unreasonable” and creates a risk of
  9   violation that is substantially greater than the risk associated with a careless
 10   reading. Id. at 69–70. The Supreme Court ruled that Safeco had not willfully
 11   violated the FCRA because the statute was “less-than-pellucid” on the issue in
 12   question and there was no court or FTC guidance “that might have warned [Safeco]
 13   away from the view it took.” Id. at 70.
 14         That said, a lack of definitive authority “does not, as a matter of law,
 15   immunize [a party] from potential liability” for violating the FCRA. Syed, 853 F.3d
 16   at 504 (quoting Cortez v. Trans Union, LLC, 617 F.3d 688, 721 (3d Cir. 2010))
 17   (alterations in original). In Syed, the Ninth Circuit wholly adopted the standards of
 18   Safeco. See Syed, 853 F.3d at 503–06. The Syed court found that the standalone
 19   requirement—the very provision at issue here—“is not subject to a range of
 20   plausible interpretations.” Id. at 505. To the contrary, “15 U.S.C. § 1681b(b)(2)(A)
 21   unambiguously forecloses the inclusion of a liability waiver in a disclosure
 22   document. Thus we need not consider . . . subjective interpretation of the FCRA in
 23   determining whether [the defendant] acted [recklessly].” Id. And, as explained
 24

 25
      3
       Because the FCRA’s stand-alone requirement is unambiguous, the question of
      willful violation can be decided “purely as a matter of law,” without regard to
 26   subjective interpretation. Syed, 853 F.3d at 505 (finding that the defendant’s FCRA
 27
      disclosure willfully violated the statute).
              PLAINTIFF’S MEMORANDUM IN SUPPORT OF MOTION FOR SUMMARY JUDGMENT
 28                                              -9-
Case 2:18-cv-03893-RGK-AGR Document 70 Filed 04/17/19 Page 15 of 19 Page ID #:645




  1   above, Syed’s holding and analysis is “not limited to liability waivers,” but applies
  2   “to any surplusage.” Gilberg, 913 F.3d at 1175.
  3         At all times relevant to this case, Section 1681b(b)(2)(A)(i) of the FCRA has
  4   plainly stated as follows:
  5         [A] person may not procure a consumer report, or cause a consumer
  6         report to be procured, for employment purposes with respect to any
  7         consumer, unless a clear and conspicuous disclosure has been made in
  8         writing to the consumer at any time before the report is procured or
  9         caused to be procured, in a document that consists solely of the
 10         disclosure, that a consumer report may be obtained for employment
 11         purposes.
 12   15 U.S.C. § 1681b(b)(2)(A)(i). This provision unambiguously requires that a
 13   consumer report disclosure must consist solely of the disclosure. Further, Section
 14   1681b pertains exclusively to “consumer reports”—the FCRA contains a separate
 15   section regarding disclosures for investigative consumer reports. Compare 15
 16   U.S.C. § 1681b with 15 U.S.C. § 1681d. The two report types are significantly
 17   different and distinctly defined. 15 U.S.C. § 1681a(d)(1), 1681a(e).
 18         As noted in Syed, the stand-alone requirement mandate is unambiguous and
 19   thus not open to individual interpretation. See Syed, 853 F.3d at 505. In light of the
 20   FCRA’s structure and language, it was reckless for 7-Eleven to adopt its own
 21   interpretation of the FCRA’s plain language. Likewise, interpreting the word
 22   “disclosure” to encompass two, separately defined disclosures, or otherwise to
 23   interpret “must consist solely of the disclosure” to mean nothing at all, is
 24   objectively unreasonable.
 25         On the issue of willfulness, 7-Eleven may again seek refuge in the FTC’s
 26   Willner opinion, which, in violation of the plain language of the Act, permits
 27
             PLAINTIFF’S MEMORANDUM IN SUPPORT OF MOTION FOR SUMMARY JUDGMENT
 28                                             -10-
Case 2:18-cv-03893-RGK-AGR Document 70 Filed 04/17/19 Page 16 of 19 Page ID #:646




  1   inclusion of a “very limited” disclosure regarding investigative reports. FTC
  2   Advisory Opinion to Willner (Mar. 25, 1999). But Willner also stated that including
  3   a description of the “nature and scope” of investigative reports “would of necessity
  4   be much more detailed and would likely be held to overshadow” the consumer
  5   report disclosure. Id. Further, the FTC went out of its way to warn employers that,
  6   “[t]he surest way for an employer to comply, of course, would be to provide the
  7   [consumer report disclosure] notice and the [investigative report nature and scope]
  8   notice in separate documents.” Id.
  9         7-Eleven not only failed to take the “surest way” here, it did just the opposite:
 10   Defendant’s disclosure form is overshadowed by extraneous information, including
 11   a lengthy description of the nature of a potential investigation and the sources that
 12   may be interviewed. (Woodrow Decl., Ex. A.) Indeed, 7-Eleven testified that it not
 13   only combined investigative consumer reports with ordinary consumer reports, it
 14   also included a disclosure for criminal background checks. This is of course on top
 15   of the other extraneous information (like statements regarding Sterling Talent
 16   Solutions and state law disclosures, among others).
 17         Put simply, the FTC warned employers of the surest approach to take and 7-
 18   Eleven, which had ready access to counsel, ignored this advice. The Willner
 19   opinion has been available to employers for almost two decades, long before
 20   Munoz and the Class members were presented with 7-Eleven’s form. Assuming the
 21   Court would even adopt Willner (at the expense of recent, controlling Ninth Circuit
 22   precedent established in Syed and Gilberg holding that FCRA’s standalone
 23   requirement is unambiguous such that violations may be found willful as a matter
 24   of law), Defendant’s form is still objectively unreasonable. The information
 25   included is extraneous and overshadows the required consumer report disclosure—
 26   it is unlawful under any approach.
 27
             PLAINTIFF’S MEMORANDUM IN SUPPORT OF MOTION FOR SUMMARY JUDGMENT
 28                                            -11-
Case 2:18-cv-03893-RGK-AGR Document 70 Filed 04/17/19 Page 17 of 19 Page ID #:647




  1         As a matter of law, 7-Eleven’s expansive interpretation of a pellucid,
  2   unambiguous provision of the FCRA is objectively unreasonable and constitutes
  3   reckless disregard of the statute’s requirements. Defendant willfully violated the
  4   FCRA, and the Court should thus grant summary judgment in favor of Plaintiff.
  5   V.    CONCLUSION
  6         Plaintiff’s Motion for Summary Judgment should be granted. The facts
  7   material to his claims are not disputed—7-Eleven’s consumer report disclosure
  8   form is saddled with extensive, confusing details about investigative reports as well
  9   as a reference to state statutory provisions. As a matter of law, the form violates the
 10   FCRA’s stand-alone disclosure requirement, and Defendant’s actions were willful
 11   in light of the statute’s plain language. Accordingly, the Court should grant
 12   summary judgment in favor of Plaintiff and the Class and award any such relief as
 13   it deems necessary and just.
 14

 15                                           Respectfully Submitted,
 16                                           EDWARDO MUNOZ, individually and on
 17                                           behalf of all others similarly situated,
 18
      Dated: April 17, 2019                   By:      /s/ Steven L. Woodrow
 19                                                     One of Plaintiff’s Attorneys
 20
                                              Mike Arias (CSB #115385)
 21                                              mike@asstlawyers.com
 22                                           Alfredo Torrijos (CSB #222458)
                                                 alfredo@asstlawyers.com
 23                                           ARIAS SANGUINETTI WANG &
 24                                              TORRIJOS, LLP
                                              6701 Center Drive West, 14th Floor
 25                                           Los Angeles, California 90045
 26                                           Telephone: (310) 844-9696
                                              Facsimile: (310) 861-0168
 27
             PLAINTIFF’S MEMORANDUM IN SUPPORT OF MOTION FOR SUMMARY JUDGMENT
 28                                             -12-
Case 2:18-cv-03893-RGK-AGR Document 70 Filed 04/17/19 Page 18 of 19 Page ID #:648




  1
                                        Steven L. Woodrow*
  2                                        swoodrow@woodrowpeluso.com
  3                                     Patrick H. Peluso*
                                           ppeluso@woodrowpeluso.com
  4                                     Taylor T. Smith*
  5                                        tsmith@woodrowpeluso.com
                                        WOODROW & PELUSO, LLC
  6                                     3900 East Mexico Avenue, Suite 300
  7                                     Denver, Colorado 80210
                                        Telephone: (720) 213-0675
  8                                     Facsimile: (303) 927-0809
  9                                     *Pro Hac Vice

 10

 11

 12

 13

 14

 15

 16

 17

 18

 19
 20

 21

 22

 23

 24

 25
 26

 27
            PLAINTIFF’S MEMORANDUM IN SUPPORT OF MOTION FOR SUMMARY JUDGMENT
 28                                       -13-
Case 2:18-cv-03893-RGK-AGR Document 70 Filed 04/17/19 Page 19 of 19 Page ID #:649




  1                           CERTIFICATE OF SERVICE
  2         The undersigned hereby certifies that a true and correct copy of the above
  3   titled document was served upon counsel of record by filing such papers via the
  4   Court’s ECF system on April 17, 2019.
  5                                         /s/ Steven L. Woodrow
  6

  7

  8
  9

 10

 11

 12

 13

 14

 15

 16

 17

 18

 19
 20

 21

 22

 23

 24

 25
 26

 27
             PLAINTIFF’S MEMORANDUM IN SUPPORT OF MOTION FOR SUMMARY JUDGMENT
 28                                           -14-
